     Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 1 of 9 PageID #: 1



RECEIVED
                                  UNITED STATES DISTRlCT COURT
 JUN 2 8 2021
                                  EASTERN DISTRICT OF MISSOURI
BY MAIL                           la..s+eCCI    DIVISION


                                                                 )
      brcv\de(\ ~Se,pl, tl_/(A,J/oy
                                                                 )
    _;v]oooc # 1J.43'-{ 50                                       )
     (Write the fall name of the plaintiff in this action.           Case No:
                                                                 )              ---------
                                                                     (to be assigned by Clerk of District Court)
    [nclude prisoner registration nwnber.)
                                                                 )
                                                                 )
                                                                     P~9ifRequests Trial by Jury
     v. ./v1i .S.S our; De p°"r+-(Vle-t1+                    of- )
                                                                      M   Yes          D
                                                                                       No
  .5," fT e..c,,+; on.5' C.a.5-f e.-rn        Rece.p-j-\ dr\)
 _. '~~J'\('.IShcs unoJ Corree,+,·oY1C1. J                       )

 Cefl-/-er, cu1d Co<''i zon                                      )
                                                                 )
                                                                 )
    {Write the full name of each defendant. The caption          )
    must include the names of all of the parties.                )
    Fed R. Civ. P. IO(a). Merely listing one party and           )
    writing "et al. " is iy,.svfficient. Attach additional       )
    sheets if necessary.)                                        )


        PRISONER CIVIJ;., RIGHTS COMPLAINT UNDER 42 U.S.C. § 1983

                                                         NOTICE:

  _Federal Rule of Civil Procedure 5.2 .addresses the privacy and security concerns resulting.from
   public access to electronic court files. Under this rule, papers filed with the court should not
   conta.in: an individual's full social security number or fall birth date, the fall name of a person
   known to be a minor, or a complete.financial account number. Afiling may inc{ude only: the last
  four digits of a social security n1,tmber, the year of an individual's birth, a minor's initials, and
   the last four digits of a financial.account number.

   Except as noted in this form, plaintiff should not-send exhibits, affidavits, witness statements, or
   any other materials to the Clerk's Office vdth this complaint.

   In order for your complain_t to be filed, it must be accompanied by the $ 400. 00 filing fee or an
   application to proceed without prepayment offees and costs.
  Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 2 of 9 PageID #: 2




 I.     The Parties to this Complaint

        A.            The Plaintiff

        Name:            5c/J\nd e,,y'.]                                                        #lal/0"17
                                         /\ / {l /I & _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        Other names you have used: --'-\aol----".,___,__,___,__..c-.

        Prisoner Regis~ration Number:                             -~1~J._L[-+---=3~Y~5~,,,.~o~----------
        Curr~nt Institution: _,__A_,_,__/~~--1--""'-o-=a-=---=c~~~C~U~e.,=-,,...,r:;,_,./--'--','--"'cJ=-...,(1--'
                                                                                                      .           --"'-' 3'-'/'---_,_0"-'e"'-.it1.c...,,__J±~e"-'+-'
                                                                                                                                         ·                       ( _ _ __

        Indicate your prisoner status:

         C           Pretrial detainee                                           ref       Convicted ancl sentenced state prisoner

         )!          Civilly committed detainee                                  D         Convicted and sentenced federal prisoner

         [     ~     Immigration detainee                                        cz"        Other (explain): 'VACtzi.                    +eJ l~emaxl
      · B.           The Defendant(s)

To the best of your lmowledge, give the information below for each defendant named in the
caption of this complaint. Make sure the defendant(s) named below are the same as those listed
in the c~ption of this complaint. Attach additional pages if necessary.

For an individual defendant, include the person's job title, and check whether you are suing the
individual in his or her individual capacity, official capacity, or both.

       Defendant 1

       Name:         A'.5.Sauc.· [&p().C-t:rv1e/if of CacC~u-/-:,'oaS                                                                         1~~Dcc
       Job or Title:            CO C(~{;flOrl().. /
       Badge/Shield Number: - L . ¥ - - , ' - ' - - - - - - - - - - - - - - - - - - - - - - -

       Employer:           5 +:u1 +-e of Ill: :5 5 au                                            C),


      A?dress:           ~ 7)7 J-/,jhJAJtt'( K1 Bor1t16 µ f [ G do. (~3071 8                                            1

                   ref             Individual Capacity                                                           ~              Official Capacity




                                                                                  2
 Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 3 of 9 PageID #: 3




        Defendant2

       Name:      Coc·, 2--0Y'.1 He,o, (-thc.0-ce,,, I Alucje_,               Cody
       Job or Title:   /le,d 1.C,.a I Pro .f?_s S ,Or1 oi /
       Badge/Shield Number: ~ V - - ' ' - - + - - - - - - - - - - - - - - - - - - - - -

       Employer:       s+lA.+e,   f\f   rJ)   >s.s ov C~   I C.oc ,' Z...on
       Address::J 7J 7 rljbw0-y J<) &r1e ?ecce) ;t(b. {p_j[p J 8
             [Vi Individual Capacity     · ~ Official Capacity


IL Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have· named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.

Your statement of claim must include all of the following information:

      L        What happened to you?
      2.       When did it happen?     -      S
                                              ~            A +-r
                                                               01.. uJ1 tr18/l j-
      3.       Where did it happen?
      4.       What injuries did you suffer?
      5.       What did each defendant personally do, or fail to do, to harm you?




                                                  3
   Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 4 of 9 PageID #: 4




  IV.     Relief
  State briefly and precisely what you want the Court to do for you. Do not make legal arguments.
  Do i1ot cite any cases or statutes. If you are requesting money damages, include the amounts of
  any actual damages and/or punitive damages you are claiming. Explain why you believe you are
  entitled to recover those damages.

        -r iJ_al,)/C: i, 'r:-~                       ,·11ve.-s+;jq+e 8e0c),, arid
                                   f-i--i~ Courf-~ ft2
 ev-e...ry l,{     ~ -l-1,ie,, u\++~G he.-d Go Mp\ Cl\\ n+, +o I e:); +; 1\,1.; z_e:,
              Cr\1N"\    l                                                               _
 O-ll th,~ o-/1~.x+\o,,..,s -of Nle,,J:c,c,\ ()~te-c.+ OLrid ,v1;~C,.&'1'1,duc,,f'. TCJ hold
--rh()Se., 1 Vlvolve-d o..cc~u~+o. bJ~, °'"'d awO\rd My5e,,I+ LAN-1-h flee,e,.5,S(ll.,rY.
fYlot1U0.1i C:.ovY1pe,11,~}16t1 o+ tl£oe5)000~06 F<:>, +-he., clo-1V1.~~e,5 :C.'ve mou,ed,
  V.     Exhaustion of Administrative Remedies/Ad~inistrative Procedures

 The Priso[l_ Litigation Reform Act ("PLRA") 42 U.S.C. § 1997e(a), requires that "[n]o action
 shall be brought with respect to prison conditions under section 1983 of this title, or any other
 Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
 i:i,dministrative remedies as are available are exhausted."

 Ad.rninistrative remedies are also known as grievance procedures. Your case may be dismissed
 if you have not exhausted your administrative remedies.

         A.     Did your· claim(s) arise while you were confined rn a jail, prison, or other
                co~re,-
                    c · anal facility?

                ~~
                        i Yes               •·,     No


         If yes, name the jail, prison or other correctional facility where you were confined at the
 time of the events giving rise to your claim(s):

 £,{( DC:0 ;)7:).7 H"J( 1( 1              &.-1ae1- ucre_,)          tlld. {~SC,) 8

        B.    · Does the jail, prison o"r other correctional facility where your claim(s) arose have
                a grievance procedure?
              . GZ{Yes                    [7      No         D     Do not know


        C.     If yes, does the grievance procedure at the jail, pr~son or other correctional facility
               whe:e your claim(s) arose c~ver some or aH o(our claims?

                 D       Yes              D       ·No       lYJ    Do not know

                                                   s
 Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 5 of 9 PageID #: 5




        If yes, which claim(s)?            A}/r



        D.                             a
                   Did you file grievance in the jail, prison, 9r other correctional facility where
                   your claim(s) arose concerning the facts relating to this complaint?

                    ~Yes                          D.   No           ..

         If no, did you file a grievance about the events described in this complaint at any other
jail, prison, or other correctional facility?

                    0        Yes                  •    No


       E.         If you did file a grievance:

        1.        Where did you file the grievance?

1 f :ie,,J        +:he<      :o: :bo"      T.e,'(L rtl tR..DL0, -the,Q .!JC. e\/o..nGe.hrf(J&?L! af _A<3::.
       2.         What did you claim in your grievance? (Attach a copy of your grievance, if
            ·     available)       C,../oi.,'N1e-cl ,'-r, +1,,e..,, ~,c-;e,\}o,.rtGL/ J:R..fl.../ (il.Ylcl t?t/>/Jeovi;
                                   I
      +-~+ ;/loDoG te;<-P 0 .Sed tvte- fo -Ph-e.., Cov.'d -1°1 Viru') -1-h.eri
      f"e.f u.''.:)e.,J -\-6 °:)~✓~ tAe..,, 0\.(\'1 +1 pe c1+ -\-,e__p..-\-(\1\,V"\,+-.. T . _'ve., &i.clured
      Me,,d.~t             lll-jlec.,+, ;S+er-ff cdou~e. 1 o-ri.d   011g,oi'~    e,.{.-.fe:l-+s, ef-c.,
   - 5 e.. e,,,    CA.   ++~l,,t, w-te-(\ ,- s .-
       3.         What was the result, if any? (Attach a copy of any written response to your
                  grievance, ifavailable) /ht,, ref>pcv1$e5 :£ (e.,e,-e_/vec)                         >iever
                /l~t-e:d           o..ny u/o.,m5       f_ tVC~cJe,.., 1 bv-t- --J-he,, c:r/cSo         have
         flor dW"le-d up +-o f-ht:...,·r                     r'Vlo.. /   fr b:A+-/Vlet'l,+.
       - Sc:e- a--r--1-t?\..?I, ~ e,i, f-5 ----




                                                       6
   Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 6 of 9 PageID #: 6




         4.      What steps, if any, did you take to appeal that decision? Is the grievance process
                 completed? If not, explain why not. (Describe all efforts to appeal to the highest
                 levelofthegrievanceprocess.) £" fotltJwe<:f all rle.L-e:;,)<:1,.1y
               5+e,,p.5 of fhe:,, ~,:evO\fl.ue f)roc.,e.,Jurc:.., 1 t?t-11,J ,'f ,"~ now
               t tJ yv( f I e, +~ 0LY1d re,, v\ cly f CJ pIO l, ~e.,J -1-o Ct:J v r -f;'
              - c-5 ~~ ~ -fft7t c,,,/, m evif.S -



         F.     If you did not file a grievance:   JA
         1.     If there are any reasons why you did not file a grievance, state them here:




        2.      If you did not file a grievance but you did inform officials of your claim, state
                who you informed, when and how, and their response, if any:




        G.      Please set forth any additional information that is relevant to the exhaustion of
                your administrative remedies.    -.s       'o+LJS, d
                                                       ,? .,,

                                                       v'C..-,   N   c.,   6c.-v,'Vl.e,_,'1,fs,   ~,,d
               ~-1---1-~e,,hrv1.-t-n f-S   ---                                                ·



 (Note: You may attach as exhibits to this complaint any documents related to the exhaustion of
your administrative remedies.)




                                                   7
 Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 7 of 9 PageID #: 7




VI.        Previous Lawsuits

The "three strikes rule" bars a prison~r from bringing a civil action or an appeal in federal court
without paying the filing fee if that prisoner has "on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious
physical injury." 28 U.S.C. § 1915(g).

       A.       To the best of your knowledge, have you ever had a case dismissed on the basis of
                this "three strikes rule"?

                C      Yes

       If yes, state which court dismis~ed your case and when it was dismissed. Attach a
copy of the court's order, if possible.




     . Have you filed other lawsuits m state or federal court dealing with the same facts
involved in this action?

                 n    Yes                 G1!     No

      B.       If your answer to A is yes, describe each lawsuit by answering q1:1estions 1
               through 7 below. (If there is more than one lawsuit, describe the additional
               lawsuits on another page, using the same format.)

       1.      Parties to the pre_vious lawsuit

               Plaintiff
                           ---------------------------
               Defendant(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      2.       Court (iffederal court, name the district;   if state court, ·name the state and county)




      3.       Docket or case number _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      4.       Name of Judge assigned to your case _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                  8
Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 8 of 9 PageID #: 8




         5.    Approximate date of filing lawsuit _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     6.        Is the case still pending?

                I.... !   Yes

                D         No (Jf no, give the approximate date of disposition): _ _ _ _ _ _ __

     7.       What was the result of the case? (For example: Was the case dismissed? Was
              judgment entered in your favor? Was the case appealed?)




     C.       Have you filed other lawsuits in state or federal court otherwise relating to the
              conditions of your imprisonment?

              _O_Yes _                      ~No

     D.       If your answer to C is yes, describe each lawsuit by answering questions 1
              through 7 below. (If there is more than one lawsuit, describe the additional
              laV:'suits on another page, using the same formal)

     1.       Parties to the previous lawsuit

              Plaintiff
                          --~-------------------------
              Defendant(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    2.        Court (iffederal court, name the district; if state court, name the state and county)




    3.        Docket or case number
                                        ----------------------
    4.        Name of Judge assigned to your case _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    5.        Approximate date of filing lawsuit _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                9
  Case: 4:21-cv-00777-JMB Doc. #: 1 Filed: 06/28/21 Page: 9 of 9 PageID #: 9




         6.      Is the case still pending?

                  [J    Yes

                  C      No (ffno, give the approximate date of disposition):_ _ _ _ _ _ __

         7.     What was the result of the case? (For example: Was the case dismissed? Was
                judgment entered in your favor? Was the case appealed?)




  VIL     Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, infmmation, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existmg law; (3) the factual contentions have evidentiary support or,
if specificaUy so identifi.ed, wiH likely have evidentiary suppo1t after a reasonable
oppottunity for further investigation or discovery; and (4) the complaint otherwise complies
with the requirements ofRu[e 1 l.

l agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's
Office may result in the dismis'sal of my case.



I declare under penalty of perjury that the foregoing is true and correct.


                 Signed this   ;J/ .s+- day of   -.   :S i1r1e.,,            , 20   JI.

                 Signature of Plaintiff




                                                      10
